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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
        v.                                    )       Criminal No. 20-10177-PBS
                                              )
AMIN KHOURY,                                  )
                                              )
                       Defendant              )

                                        STIPULATIONS

        In lieu of live testimony, and for purposes of trial, the Government and Defense have

agreed to the following stipulations. The parties have agreed that these stipulations will not be

read to the jury. Additionally, the parties reserve the right to propose redactions to any document

listed in these stipulations if the document will be offered in evidence.

I.      AUTHENTICITY OF BUSINESS RECORDS

        The Government and Defense stipulate and agree that the following records are accurate

and authentic business records:

     a. Records received from the Department of the Treasury’s Financial Crimes Enforcement

        Network pursuant to a formal request for records, including the records identified in the

        exhibit lists filed by the Government and Defense.

     b. Records received from the Internal Revenue Service pursuant to a formal request for

        records, including the records identified in the exhibit lists filed by the Government and

        Defense.

     c. Records received from Wells Fargo Bank pursuant to a formal request for records,

        including the records identified in the exhibit lists filed by the Government and Defense.

     d. Records received from American Express pursuant to a formal request for records,

        including the records identified in the exhibit lists filed by the Government and Defense.
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      e. Records received from Bank of America pursuant to a formal request for records, including

           the records identified in the exhibit lists filed by the Government and Defense.

      f. Records received from PNC Bank pursuant to a formal request for records, including the

           records identified in the exhibit lists filed by the Government and Defense.

      g. Records received from JPMorgan Chase & Co. pursuant to a formal request for records,

           including the records identified in the exhibit lists filed by the Government and Defense.

      h.   Records received from Santander Bank pursuant to a formal request for records, including

           the records identified in the exhibit lists filed by the Government and Defense.

Notwithstanding the foregoing, the parties may still object to these records on other grounds, such

as relevance or prejudice. These records may be admitted in redacted form and the parties agree

that redacted versions of these records are authentic.

II.        AUTHENTICITY OF RECORDS FROM CERTAIN ENTITIES

           The parties stipulate and agree that the following documents are accurate and authentic

representations of records:

      a. Records obtained from the Defendant’s email account, AKhoury@sailfishventures.com,

           received pursuant to a formal request for records, including the records identified in the

           exhibit lists filed by the Government and Defense.

      b. Records from Middlesex High School and Georgetown University received pursuant to a

           formal request for records, including the records identified in the exhibit lists filed by the

           Government and Defense.

Notwithstanding the foregoing, the parties may still object to these records on other grounds, such

as hearsay, relevance, or prejudice.




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                                           Respectfully submitted,


RACHAEL S. ROLLINS                         AMIN KHOURY
United States Attorney                     Defendant

By: /s/ Christopher J. Markham             By: /s/ Eóin P. Beirne
CHRISTOPHER J. MARKHAM                     EOIN P. BEIRNE
KRISTEN A. KEARNEY                         Counsel for Amin Khoury
Assistant United States Attorneys




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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: April 29, 2022                                  /s/ Christopher J. Markham
                                                       Christopher J. Markham
                                                       Assistant United States Attorney




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